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                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

 In Re

 Jacob Jene Eversmeyer and                        Case No. 17-47571-399
 Jacquelin Susan Eversmeyer,
          Debtors.                                Chapter 7

 Wells Fargo Bank, N.A.,                          MOTION FOR RELIEF FROM THE
          Movant.                                 AUTOMATIC STAY

 v.                                               MOTION WAIVES 30 DAY HEARING

 Jacob Jene Eversmeyer and                        Hearing Date: April 4, 2018
 Jacquelin Susan Eversmeyer,                      Hearing time: 02:00 PM
          Debtors,                                Courtroom 5 North

 and                                              Kozeny & McCubbin, LC
                                                  12400 Olive Blvd., Suite 555
 Tracy A. Brown, Trustee.                         St. Louis, MO 63141
          Respondents.                            edmo@km-law.com

                    MOTION FOR RELIEF FROM AUTOMATIC STAY
                               (REAL PROPERTY)

               Wells Fargo Bank, N.A. (“Movant”) hereby moves this Court, pursuant to

 11 U.S.C. § 362, for relief from the automatic stay with respect to certain real property of

 the Debtors having an address of 4330 North Tote Street, Wasilla, Alaska 99623 (the

 “Property”). In further support of this Motion, Movant respectfully states:

         1.    A petition under Chapter 7 of the United States Bankruptcy Code was filed

 with respect to the Debtors on November 2, 2017. The Court has jurisdiction over this

 matter pursuant to 28 U.S.C. Sections 151, 157 and 1334 and E.D.Mo. L.R. 81-9.01(B).

 This is a core proceeding pursuant to 28 U.S.C. Section 157(b)(2). Venue is proper in

 this District under 28 U.S.C. Section 1409(a).


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        2.     The Debtor, Jacob J Eversmeyer, has executed and delivered that certain

 promissory note in the original amount of $224,730.00 (the “Note”). A copy of the note

 is attached hereto as Exhibit 1. Movant is an entity entitled to enforce the Note.

        3.     Pursuant to that certain Deed of Trust (the “Deed of Trust”), all obligations

 (collectively, the “Obligations”) of the Debtor under the Note and Deed of Trust with

 respect to the Loan are secured by the Property. A copy of the Deed of Trust is

 attached hereto as Exhibit 2.

        4.     All rights and remedies under the Deed of Trust have been assigned to the

 Movant pursuant to that certain Assignment of Deed of Trust. A copy of the Assignment

 of Deed of Trust is attached hereto as Exhibit 3.

        5.     The legal description of the Property is set forth in the Deed of Trust, a

 copy of which is attached hereto, and such description is incorporated and made a part

 hereof by reference.

        6.     Debtor(s) executed a promissory note secured by a mortgage or deed of

 trust. The promissory note is either made payable to Creditor or has been duly indorsed.

 Creditor, directly or through an agent, has possession of the promissory note. Creditor is

 the original mortgagee or beneficiary or the assignee of the mortgage or deed of trust.

        7.     Movant is the servicer of the loan.

        8.     As of February 1, 2018, the outstanding Obligations are:




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    Unpaid Principal Balance                                                $202,045.00
    Unpaid, Accrued Interest                                                  $2,631.21
    Uncollected Late Charges                                                       $0.00
    Mortgage Insurance Premiums                                                    $0.00
    Taxes and Insurance Payments on                                             $301.20
    behalf of Debtor(s)
    Other Costs                                                                  $25.00
    Less: Partial Payments                                                       ($0.00)
    Minimum Outstanding Obligations                                         $205,002.41

        9.     The following chart sets forth the number and amount of contractual

 payments due pursuant to the terms of the Note that have been missed by the Debtors

 as of February 1, 2018:

    Number of              From              To           Monthly            Total Amounts
    Payments                                             Payment                Delinquent
                                                          Amount
         2            11/01/2017     12/01/2017         $1,421.37                 $2,842.74
         2            01/01/2018     02/01/2018         $1,408.30                 $2,816.60
                                 Less contractual partial payments:                  ($0.00)
                                                              Total:              $5,659.34

        10.    Additionally, Debtors have filed their statement of intentions in which they

 express their intent to surrender the Property, and Movant requests this Court take

 judicial notice of the same.

        11.    The fair market value of the Property is $220,000.00. The basis for such

 valuation is Schedule A/B of the Debtors` Schedules. A copy of Schedule A/B is

 attached hereto as Exhibit 4.

        12.    Upon information and belief, the aggregate amount of encumbrances on

 the Property listed in the Schedules or otherwise known, including but not limited to the

 encumbrances granted to the Movant, is $205,002.41.


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         13.   Cause exists for relief from the automatic stay for the following reasons:

               (a)      Movant`s interest in the Property is not adequately protected.

               WHEREFORE, Movant prays that this court issue an Order terminating or

 modifying the stay and granting the following:

               1.       Relief from the stay allowing Movant (and any successors or

 assigns) to proceed under applicable non-bankruptcy law to enforce its remedies to

 foreclose upon and obtain possession of the Property.

               2.       That the Order be binding and effective despite any conversion of

 the bankruptcy case to a case under any other chapter of Title 11 of the United States

 Code.

               3.       That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be

 waived.

               4.       For such other relief as the Court deems proper.




                                             Respectfully submitted,

                                             /s/Jonathon B. Burford
                                             Jonathon B. Burford, #59337MO
                                             Attorneys for Movant
                                             12400 Olive Blvd., Suite 555
                                             St. Louis, MO 63141
                                             Phone: (314) 991-0255
                                             Fax: (314) 567-8019
                                             edmo@km-law.com




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 I certify that on the 13th day of February, 2018, a true and correct copy of the Motion for
 Relief from Automatic Stay was served electronically via CM/ECF upon the following
 parties:

 Laurie Ann Knight
 Attorney for Debtors
 13321 N. Outer 40 Rd., Ste. 500
 Town & Country, MO 63017

 Tracy A. Brown
 Trustee
 1034 S. Brentwood Blvd., Ste 1830
 St. Louis, MO 63117

 Office of the US Trustee
 U.S. Trustee
 111 S Tenth St, Ste 6.353
 St. Louis, MO 63102


 And delivered via regular U.S. Mail on February 13, 2018 to:

 Jacob Jene Eversmeyer
 Debtor
 627 Shannon Hills Lane
 Robertsville, MO 63072

 Jacquelin Susan Eversmeyer
 Debtor
 627 Shannon Hills Lane
 Robertsville, MO 63072




 /s/ Jessica Werner
     Jessica Werner




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                         Exhibit 2
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                                  Exhibit 3
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 Fill in this information to identify your case and this filing:
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                                                                           31
 Debtor 1                    Jacob Jene Eversmeyer
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Jacquelin Susan Eversmeyer
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF MISSOURI

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B                                                                           Exhibit 4
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        4330 N. Tote St.                                                               Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Wasilla                           AK        99623-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $220,000.00                $220,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Joint tenant
        Matanuska Susitna                                                              Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $220,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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